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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In Re:                                                   § Chapter 11
                                                         §
FURIE OPERATING ALASKA, LLC,                             § Case No. 19-11781 (LSS)
et al.,1                                                 §
                                                         § Jointly Administered
                           Debtors.                      §

                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                    HEARING ON SEPTEMBER 17, 2019 AT 11:00 A.M. 2

MATTERS WITH CERTIFICATIONS OF COUNSEL:

    1. Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing Payment of
       (I) Royalty Payments, (II) Operating Expenses, (III) Shipper and Warehousemen Claims,
       (IV) Section 503(B)(9) Claims, and (V) Outstanding Orders; and (B) Granting Related
       Relief [Docket No. 8, filed August 9, 2019].

         Objection/Response Deadline:                 September 4, 2019 at 4:00 p.m. (ET); Extended to
                                                      September 6, 2019 at 12:00 p.m. (ET) for Certain
                                                      Royalty and Working Interest Owners

         Objection/Responses Filed:

             A. Omnibus Objection of Certain Royalty and Working Interest Owners to (i) Final
                Approval of Certain of the Debtors’ “First Day” Motions and (ii) Approval of the
                Debtors’ Proposed Bid Procedures [Docket No. 105, filed September 6, 2019].

         Related Documents:

             A. Interim Order (A) Authorizing Payment of (I) Royalty Payments, (II) Operating
                Expenses, (III) Shipper and Warehousemen Claims, (IV) Section 503(B)(9)
                Claims, and (V) Outstanding Orders; and (B) Granting Related Relief [Docket
                No. 55, entered August 12, 2019].

             B. Omnibus Notice of First Day Motions and Final Hearing Thereon, [Docket No.
                66, filed August 14, 2019].

             C. Certification of Counsel [Docket No. 130, filed September 12, 2019].

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        The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Furie
Operating Alaska, LLC (8721); Cornucopia Oil & Gas Company, LLC (9914); and Corsair Oil & Gas LLC (8012).
The location of the Debtors’ corporate headquarters and the service address for all Debtors is 188 W. Northern
Lights Blvd. Suite 620, Anchorage, Alaska 99503.
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        Please note that the hearing will be held before the Honorable Laurie Selber Silverstein in the United States
Bankruptcy Court for the District of Delaware, 824 Market Street, 6th Floor, Courtroom No. 2, Wilmington,
Delaware 19801. Any person who wishes to appear telephonically must contact COURTCALL, LLC at 866-582-
6878.
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   Status: A certification of counsel has been filed.

2. Debtors’ Application for an Order Authorizing the Debtors to Retain Seaport Global
   Securities LLC as Investment Bank Nunc Pro Tunc to the Petition Date [Docket No. 67,
   filed August 14, 2019].

   Objection/Response Deadline:          September 9, 2019 at 10:00 a.m. (ET)

   Objection/Responses Filed:

       A. Informal Comments of the United States Trustee

   Related Documents:

       A. Notice of (i) Filing of Engagement Agreement with Seaport Global Securities
          LLC and (ii) Revised Objection Deadline for Debtors’ Application for an Order
          Authorizing the Debtors to retain Seaport Global Securities LLC as Investment
          Bank Nunc Pro Tunc to the Petition Date [Docket No. 99, filed September 2,
          2019].

       B. Supplemental Declaration of Michael H. Schmidt in Support of Debtors’
          Application for an Order Authorizing the Debtors to Retain Seaport Global
          Securities LLC as Investment Bank Nunc Pro Tunc to the Petition Date [Docket
          No. 140, filed September 13, 2019].

       C. Certification of Counsel [Docket No. 143, filed September 13, 2019].

   Status: A certification of counsel has been filed.

3. Debtors’ Application for Entry of an Order Authorizing the Retention and Employment
   of McDermott Will & Emery LLP as Attorneys for the Debtors and Debtors in
   Possession Effective Nunc Pro Tunc to the Petition Date [Docket No. 82, filed August
   21, 2019].

   Objection/Response Deadline:          September 4, 2019 at 4:00 p.m. (ET)

   Objection/Responses Filed:

       A. Informal Comments of the United States Trustee

   Related Documents:

       A. Declaration of Scott M. Pinsonnault, the Debtors’ Interim Chief Operating
          Officer, in Support of the Debtors’ Applications to Authorize the Retention and
          Employment of (a) McDermott Will & Emery LLP and (b) Womble Bond
          Dickinson (US) LLP as Counsel to the Debtors Nunc Pro Tunc to the Petition
          Date [Docket No. 84, filed August 21, 2019].

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       B. Supplemental Declaration of Timothy W. Walsh in Support of Debtors’
          Application for Entry of an Order Authorizing the Retention and Employment of
          McDermott Will & Emery LLP as Attorneys for the Debtors and Debtors in
          Possession Effective Nunc Pro Tunc to the Petition Date [Docket No. 141, filed
          September 13, 2019].

       C. Certification of Counsel [Docket No. 142, filed September 13, 2019].

   Status: A certification of counsel has been filed.

4. Application of the Debtors for an Order Under 11 U.S.C.§§ 327(a) and 328(a), Fed. R
   Bankr. P. 2014 and 2016, and Del. Bankr. L.R. 2014-1 and 2016-1 Authorizing and
   Approving the Employment and Retention of Womble Bond Dickinson (US) LLP as
   Counsel Nunc Pro Tunc to the Petition Date [Docket No. 83, filed August 21, 2019].

   Objection/Response Deadline:           September 4, 2019 at 4:00 p.m. (ET)

   Objection/Responses Filed:

       A. Informal Comments of the United States Trustee

   Related Documents:

       A. Declaration of Scott M. Pinsonnault, the Debtors’ Interim Chief Operating
          Officer, in Support of the Debtors’ Applications to Authorize the Retention and
          Employment of (a) McDermott Will & Emery LLP and (b) Womble Bond
          Dickinson (US) LLP as Counsel to the Debtors Nunc Pro Tunc to the Petition
          Date [Docket No. 84, filed August 21, 2019].

       B. Certification of Counsel [Docket No. 118, September 11, 2019].

   Status: A certification of counsel has been filed.

5. Motion of Debtors for Entry of an Order Establishing Procedures for Interim
   Compensation and Reimbursement of Expenses of Professionals [Docket No. 85, filed
   August 21, 2019].

   Objection/Response Deadline:           September 4, 2019 at 4:00 p.m. (ET)

   Objection/Responses Filed:

       A. Informal Comments of the United States Trustee

   Related Documents:

       A. Certification of Counsel [Docket No. 120, September 11, 2019].

   Status: A certification of counsel has been filed.

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MATTERS GOING FORWARD:

  6. Debtors’ Motion for Interim and Final Orders Authorizing Debtors to Continue Using
     Existing Bank Accounts, Business Forms, and Cash Management System, [Docket No.
     10, filed August 9, 2019; Interim Order, Docket No. 57].

     Objection/Response Deadline:           September 4, 2019 at 4:00 p.m. (ET); Extended to
                                            September 6, 2019 at 12:00 p.m. (ET) for Certain
                                            Royalty and Working Interest Owners

     Objection/Responses Filed:

         A. Omnibus Objection of Certain Royalty and Working Interest Owners to (i) Final
            Approval of Certain of the Debtors’ “First Day” Motions and (ii) Approval of the
            Debtors’ Proposed Bid Procedures [Docket No. 105, filed September 6, 2019].

     Related Documents:

         A. Interim Order Authorizing Debtors to Continue Using Existing Bank Accounts,
            Business Forms, and Cash Management System [Docket No. 57, entered August
            12, 2019].

         B. Omnibus Notice of First Day Motions and Final Hearing Thereon, [Docket No.
            66, filed August 14, 2019].

     Status: This matter will go forward.

  7. Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
     (A) Obtain Postpetition Financing on a Super-Priority, Senior Secured Basis, (B) Use
     Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
     (III) Modifying the Automatic Stay, and (IV) Scheduling a Final Hearing [Docket No. 11,
     filed August 9, 2019].

     Objection/Response Deadline:           September 4, 2019 at 4:00 p.m. (ET); Extended to
                                            September 5, 2019 at 12:00 p.m. (ET) for Shelf
                                            Drilling; Extended to September 6, 2019 at 12:00
                                            p.m. (ET) for Certain Royalty and Working Interest
                                            Owners

     Objection/Responses Filed:

         A. Omnibus Opposition of Shelf Drilling to Debtors’ Motions for (a) Approval of
            DIP Financing and (b) Approval of Sale Procedures [Docket No. 101, filed
            September 5, 2019].
         B. Omnibus Objection of Certain Royalty and Working Interest Owners to (i) Final
            Approval of Certain of the Debtors’ “First Day” Motions and (ii) Approval of the
            Debtors’ Proposed Bid Procedures [Docket No. 105, filed September 6, 2019].
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   C. Omnibus Opposition of Bruce Webb to Debtors’ Motions for (a) Approval of DIP
      Financing and (b) Approval of Sale Procedures [Docket No. 106, filed September
      6, 2019].

Related Documents:

   A. Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing on
      a Super-Priority, Senior Secured Basis, (B) Use Cash Collateral, (II) Granting
      Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay,
      and (IV) Scheduling a Final Hearing [Docket No. 62, entered August 14, 2019].

   B. Notice of Hearing on Motion of Debtors for Entry of Interim and Final Orders (I)
      Authorizing the Debtors to (A) Obtain Postpetition Financing on a Super-Priority,
      Senior Secured Basis, (B) Use Cash Collateral, (II) Granting Adequate Protection
      to Prepetition Lenders, (III) Modifying the Automatic Stay, and (IV) Scheduling a
      Final Hearing [Docket No. 64, filed August 14, 2019].

   C. Notice of Filing of Final Order (i) Authorizing the Debtors to (A) Obtain
      Postpetition Financing on a Super-Priority, Senior Secured Basis, (B) Use Cash
      Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
      (III) Modifying the Automatic Stay [Docket No. 100, filed September 4, 2019].

   D. (i) Statement of Energy Capital Partners in Support of Debtors’ DIP Motion and
      Bidding Procedures Motion and Omnibus Response to Objections or Reservations
      of Rights and (ii) Joinder in Debtors’ Omnibus Reply to Objections [Docket No.
      126, filed September 12, 2019].

   E. Debtors’ Omnibus Reply to Objections Filed in Connection with the Debtors’
      First Day Pleadings [Docket No. 127, filed September 12, 2019].

   F. Melody Lenders’ (i) Statement in Support of the DIP Motion and Bidding
      Procedures Motion, and (ii) Joinder in (a) Statement of Energy Capital Partners in
      Support of Same and (b) Debtors’ Omnibus Reply to Objections to Same [Docket
      No. 132, September 12, 2019].

Status: This matter will go forward.




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8. Motion of Debtors for Entry of Orders (i) (a) Approving Bidding Procedures for the Sale
   of the Debtors’’ Assets, (b) Approving Stalking Horse Bid Protections, (c) Schedule an
   Auction for, and Hearing to Approve, the Sale of the Debtors’’ Assets, (e) Approving
   Contract Assumption and Assignment Procedures and (f) Granting Related Relief and
   (ii)(a) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
   Interest and Encumbrances, (b) Authorizing the Assumption and Assignment of
   Executory Contracts and Unexpired Leases and (c) Granting Related Relief [Docket No.
   14, filed August 9, 2019].

   Objection/Response Deadline:         September 4, 2019 at 4:00 p.m. (ET); Extended to
                                        September 5, 2019 at 12:00 p.m. (ET) for Shelf
                                        Drilling; Extended to September 6, 2019 at 12:00
                                        p.m. (ET) for Certain Royalty and Working Interest
                                        Owners

   Objection/Responses Filed:

       A. Omnibus Opposition of Shelf Drilling to Debtors’ Motions for (a) Approval of
          DIP Financing and (b) Approval of Sale Procedures [Docket No. 101, filed
          September 5, 2019].

       B. Omnibus Objection of Certain Royalty and Working Interest Owners to (i) Final
          Approval of Certain of the Debtors’ “First Day” Motions and (ii) Approval of the
          Debtors’ Proposed Bid Procedures [Docket No. 105, filed September 6, 2019].

       C. Omnibus Opposition of Bruce Webb to Debtors’ Motions for (a) Approval of DIP
          Financing and (b) Approval of Sale Procedures [Docket No. 106, filed September
          6, 2019].

       D. Notice to Prospective Bidders re: State of Alaska Bonding and Regulatory
          Requirements [Docket No. 112, filed September 11, 2019].

       E. State of Alaska’s Objection to Bidding Procedures [Docket No. 114, filed
          September 11, 2019].

   Related Documents:

       A. Notice of Hearing on Motion of Debtors for Entry of Orders (i) (a) Approving
          Bidding Procedures for the Sale of the Debtors’’ Assets, (b) Approving Stalking
          Horse Bid Protections, (c) Schedule an Auction for, and Hearing to Approve, the
          Sale of the Debtors’’ Assets, (e) Approving Contract Assumption and Assignment
          Procedures and (f) Granting Related Relief and (ii)(a) Approving the Sale of the
          Debtors’ Assets Free and Clear of Liens, Claims, Interest and Encumbrances, (b)
          Authorizing the Assumption and Assignment of Executory Contracts and
          Unexpired Leases and (c) Granting Related Relief [Docket No. 89, filed August
          22, 2019].



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       B. Notice of Filing of Final Order (i) Authorizing the Debtors to (A) Obtain
          Postpetition Financing on a Super-Priority, Senior Secured Basis, (B) Use Cash
          Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
          (III) Modifying the Automatic Stay [Docket No. 100, filed September 4, 2019].

       C. (i) Statement of Energy Capital Partners in Support of Debtors’ DIP Motion and
          Bidding Procedures Motion and Omnibus Response to Objections or Reservations
          of Rights and (ii) Joinder in Debtors’ Omnibus Reply to Objections [Docket No.
          126, filed September 12, 2019].

       D. Debtors’ Omnibus Reply to Objections Filed in Connection with the Debtors’
          First Day Pleadings [Docket No. 127, filed September 12, 2019].

       E. Melody Lenders’ (i) Statement in Support of the DIP Motion and Bidding
          Procedures Motion, and (ii) Joinder in (a) Statement of Energy Capital Partners in
          Support of Same and (b) Debtors’ Omnibus Reply to Objections to Same [Docket
          No. 132, September 12, 2019].

       F. Notice of Filing of Revised Proposed Order (I)(A) Approving Bidding Procedures
          For The Sale Of The Debtors Assets, (B) Approving Stalking Horse Bid
          Protections, (C) Scheduling An Auction For, And Hearing To Approve, The Sale
          Of The Debtors Assets, (D) Approving The Form And Manner Of Notice
          Thereof, (E) Approving Contract Assumption And Assignment Procedures And
          (F) Granting Related Relief And (Ii)(A) Approving The Sale Of The Debtors
          Assets Free And Clear Of Liens, Claims, Interests And Encumbrances,
          (B) Authorizing The Assumption And Assignment Of Executory Contracts And
          Unexpired Leases And (C) Granting Related Relief [Docket No. 144, filed
          September 13, 2019].

   Status: This matter will go forward as to bidding procedures only.

9. Debtors’ Application for an Order Authorizing Employment and Retention of Prime
   Clerk LLC as Administrative Advisor Nunc Pro Tunc to the Petition Date [Docket No.
   65, filed August 14, 2019].

   Objection/Response Deadline:           September 4, 2019 at 4:00 p.m. (ET)

   Objection/Responses Filed:

       A. Informal Comments of the United States Trustee

   Status: This matter will go forward.




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Dated: September 13, 2019          Respectfully submitted,
Wilmington, Delaware

                                   WOMBLE BOND DICKINSON (US) LLP

                                    /s/ Ericka F. Johnson
                                   Matthew P. Ward (DE Bar No. 4471)
                                   Ericka F. Johnson (DE Bar No. 5024)
                                   1313 North Market Street, Suite 1200
                                   Wilmington, Delaware 19801
                                   Telephone:(302) 252-4320
                                   Facsimile: (302) 252-4330
                                   Email:     matthew.ward@wbd-us.com
                                              ericka.johnson@wbd-us.com

                                   -and-

                                   McDERMOTT WILL & EMERY LLP
                                   Timothy W. Walsh (admitted pro hac vice)
                                   Darren Azman (admitted pro hac vice)
                                   Riley T. Orloff (admitted pro hac vice)
                                   340 Madison Avenue
                                   New York, New York 10173-1922
                                   Telephone:(212) 547-5400
                                   Facsimile: (212) 547-5444
                                   Email:     twwalsh@mwe.com
                                              dazman@mwe.com
                                              rorloff@mwe.com

                                   Proposed Counsel to the Debtors and Debtors in
                                   Possession




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WBD (US) 47488736v2
